Case 2:24-cv-00172-TS-DAO Document 27 Filed 05/28/24 PageID.238 Page 1 of 2




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                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


 STATE OF UTAH, et al.,

        Plaintiffs,                              Case No. 2:24-cv-00172-TS-DAO

 v.
                                                 NOTICE OF DEFENDANT-
 DEB HAALAND, et al.,                            INTERVENOR’S REPLY IN SUPPORT
                                                 OF ITS MOTION TO TRANSFER A
        Defendants,                              RELATED CASE

 and
                                                 District Judge Ted Stewart
 SOUTHERN UTAH WILDERNESS                        Magistrate Judge Daphne A. Oberg
 ALLIANCE,

        Defendant-Intervenor.


       Defendant-Intervenor Southern Utah Wilderness Alliance (“SUWA”) respectfully

provides this Court notice that SUWA filed a Reply in support of its Motion to Transfer a
Case 2:24-cv-00172-TS-DAO Document 27 Filed 05/28/24 PageID.239 Page 2 of 2




Related Case with Judge Kimball in S. Utah Wilderness All. v. Bureau of Land Mgmt., 2:21-cv-

0091-DAK.


       Respectfully Submitted May 28th, 2024.


                                           /s/ Hanna Larsen
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